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                      IN THE UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF MASSACHUSETTS


ALEXANDER KESTENBAUM and
STUDENTS AGAINST ANTISEMITISM,
INC.,
                                                          Case No. 1:24-cv-10092-RGS
                             Plaintiffs,

v.

PRESIDENT AND FELLOWS OF
HARVARD COLLEGE,
                    Defendant.


               [PROPOSED] ORDER OF DISMISSAL WITH PREJUDICE

       WHEREAS, Plaintiff Students Against Antisemitism, Inc. (“SAA”), and Defendant

President and Fellows of Harvard College have provided notice to the Court that they have

entered into a confidential settlement agreement and have jointly moved for dismissal with

prejudice of all claims brought by SAA against Harvard and, in support of that motion, advised

that Harvard has agreed to undertake important actions to combat antisemitism on its campus,

the Court finds good cause to dismiss the claims brought by Plaintiff SAA against Harvard.

       THEREFORE, IT IS ORDERED that Plaintiff SAA’s claims are hereby DISMISSED

WITH PREJUDICE and the case caption is amended to remove Plaintiff Students Against

Antisemitism, Inc. Each party shall bear its own costs.



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 Dated                                           The Hon. Richard G. Stearns
 Boston, Massachusetts                           United States District Court Judge
